                                            Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 1 of 36




                                   1

                                   2

                                   3

                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                            UNITED STATES OF AMERICA, ex rel.
                                   7        STF, LLC, et al.,                              Case No. 16-cv-02487-JCS

                                   8                     Plaintiffs,
                                                                                           ORDER GRANTING IN PART AND
                                   9              v.                                       DENYING IN PART MOTION TO
                                                                                           DISMISS AND VACATING MOTION
                                  10        VIBRANT AMERICA, LLC,                          HEARING
                                  11                     Defendant.                        Re: Dkt. No. 58

                                  12
Northern District of California
 United States District Court




                                  13   I.       INTRODUCTION
                                  14            This whistleblower action is brought under the federal False Claims Act (“FCA”), 31

                                  15   U.S.C. §§ 3729-3733, and under California state law, by Plaintiff-Relator STF, LLC (“Relator”)

                                  16   on behalf of the United States and the State of California. Relator’s claims are based on alleged

                                  17   kickback schemes used by Defendant Vibrant America, LLC (“Vibrant”) to defraud Medicare,

                                  18   Medicaid and private insurers. The United States and the State of California declined to intervene
                                  19   in this matter on February 14, 2020 and March 6, 2020, respectively. Dkt. No. 45. Presently

                                  20   before the Court is Vibrant’s Motion to Dismiss (“Motion”), in which it argues that all of the

                                  21   claims in Relator’s complaint should be dismissed with prejudice for failure to state a claim under

                                  22   Rule 12(b)(6) and failure to meet the pleading standards of Rule 9(b) of the Federal Rules of Civil

                                  23   Procedure. The Court finds that the Motion is suitable for determination without oral argument

                                  24   and therefore vacates the motion hearing set for August 21, 2020 at 9:30 a.m. The Case

                                  25   Management Conference set for the same date will be held at 2:00 p.m. instead of the originally

                                  26   scheduled time of 9:30 a.m. For the reasons stated below the Motion is GRANTED in part and
                                  27

                                  28
                                             Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 2 of 36




                                   1   DENIED in part.1

                                   2   II.      BACKGROUND

                                   3            A.   Complaint
                                   4            Relator STF, LLC is a limited liability company “whose members are involved in the

                                   5   healthcare industry.” Complaint ¶ 10. In its complaint, Relator alleges that Vibrant is a laboratory

                                   6   company based in San Carlos, California. Id. ¶¶ 8, 11. According to Relator, Vibrant is engaged

                                   7   in two types of kickback schemes: 1) a scheme involving “sham phlebotomy contracts with

                                   8   physicians’ family members and staff members,” who receive kickbacks for referrals in the form

                                   9   of “well above market and unlawful ‘Process and Handling’ and ‘Collection’ fees . . . for each

                                  10   blood specimen physicians send to Vibrant” (hereinafter, “processing fee scheme”); and 2) a

                                  11   scheme where Vibrant “promises to cap patient deductible and/or copayments at $25 for

                                  12   physicians’ privately insured patients[,]” which is attractive to physicians because “it allows them
Northern District of California
 United States District Court




                                  13   to attract and retain patients by promising to perform all lab testing for no more than $25”

                                  14   (hereinafter, “waiver scheme”). Id. ¶¶ 2-4. Relator alleges that these schemes are “designed to:

                                  15   (1) ‘pull through’ higher-paying Medicare and Medicaid business to Defendant, (2) entice

                                  16   Medicare, Medicaid, and privately insured patients to seek treatment from and/or continue to

                                  17   receive treatment from physicians whose family and staff members have illegal kickback

                                  18   arrangements with Vibrant, and (3) induce physicians to order excessive numbers of tests from

                                  19   Vibrant for their Medicare, Medicaid and privately insured patients.” Id. ¶ 5.

                                  20            With respect to the processing fee scheme, Relator alleges that Vibrant sales

                                  21   representatives contact physicians and tell them that “their relatives and staff members can enter

                                  22   into sham contracts with VIBRANT, whereby the family member or staff member is deemed an

                                  23   ‘independent contractor[ ]’” and paid “a separate $15 draw fee for each blood specimen drawn and

                                  24   submitted to Vibrant for testing.” Id. ¶ 32. Relator alleges that Vibrant “pays the $15 draw fee

                                  25   irrespective of who actually performs the blood draw[,]” offering the following example:

                                  26                   [I]n or about December 2015, Vibrant pitched its scheme to a

                                  27
                                       1
                                  28    The parties have consented to the jurisdiction of the undersigned magistrate judge pursuant to 28
                                       U.S.C. § 636(c).
                                                                                        2
                                          Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 3 of 36



                                                      California physician. When the physician indicated that they did not
                                   1                  have staff in the office who would be appropriate to serve as an
                                                      “independent contractor” phlebotomist, Vibrant suggested that a
                                   2                  family member of the physician sign up as an “independent
                                                      contractor,” thereby allowing the physician to receive the draw fees.
                                   3                  Vibrant recommended to the physician that it be a family member
                                                      with a different last name, so as not to raise suspicions. Vibrant
                                   4                  ultimately signed an ‘independent contractor” agreement with the
                                                      physician’s spouse, who has a different last name and is not a licensed
                                   5                  phlebotomist.
                                   6   Id. ¶ 33. According to Relator, this arrangement allows physicians or their medical staff to

                                   7   supplement their income because “physicians are able to direct cash to a family member or pay

                                   8   their staff less, appease their staff, and in some instances, obtain a portion of the medical staff’s

                                   9   kickback.” Id. ¶ 34.

                                  10          As “direct evidence” of the alleged processing fee scheme, Relator points to Vibrant’s

                                  11   “standard ‘Phlebotomy Consulting Agreement[,]’” which it uses to set up the independent

                                  12   contractor relationship. Id. ¶ 36 & Ex. A (Consulting Agreement). It also provides a signed copy
Northern District of California
 United States District Court




                                  13   of Vibrant’s “standard ‘Phlebotomy Services Agreement’ . . . , which describes the $15 fee

                                  14   Vibrant pays to the physicians’ family member or staff member,” referring to it as a “Handling

                                  15   Fee” and a “Collection Fee.” Id. ¶ 37 & Ex. B (“PSA”). The PSA is signed by Vibrant’s CEO,

                                  16   Vasanth Jayaraman on behalf of Vibrant; the name of the individual who entered into the

                                  17   agreement with Vibrant is redacted. Id., Ex. B. Under the PSA, the individual is to invoice

                                  18   Vibrant every month by providing a “monthly log list” that “includes the name[ ] and date of birth

                                  19   of each patient, ordering provider and the date when each specimen was collected.” Id. Finally,

                                  20   Relator attaches to the complaint a copy of a check for $345 from Vibrant, which was allegedly

                                  21   paid to the family member in the example quoted above with the notation “March - Phlebotomy.”

                                  22   Id. ¶ 38 & Ex. C (check). According to Relator, this family member received the blood draw fee

                                  23   even though she did not perform any blood draws. Id.

                                  24          Relator alleges that Medicare pays a $3 draw fee per patient and that the $15 fee paid by

                                  25   Vibrant is “illegal as it is intended to induce medical assistants and physicians to order laboratory

                                  26   tests.” Id. ¶ 39. The fact that the “Processing and Handling” and “Collection” fees paid by

                                  27   Vibrant is “many multiples of Medicare’s $3 draw fee” by itself “gives rise to an inference of

                                  28   illegal remuneration,” Relator alleges. Id. ¶ 41. Citing OIG Advisory Opinion 05-08 (discussed
                                                                                          3
                                          Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 4 of 36




                                   1   below), Relator alleges that these fees “provide[ ] an obvious financial benefit to the referring

                                   2   physician, and it may be inferred that this benefit would be in exchange for referrals to the Lab.”

                                   3   Id. ¶ 41 (citation and internal quotations omitted). It further alleges that Vibrant “presented to

                                   4   Medicare and Medicaid claims for reimbursement of laboratory tests which were neither

                                   5   reasonable nor necessary but were ordered by physicians in exchange for kickbacks.” Id. ¶ 42.

                                   6          Addressing the waiver scheme, Relator alleges that “[i]n order to induce the referral of

                                   7   additional business, especially government pay business, Vibrant does not charge patients any

                                   8   amount in excess of $25 regardless of the patient’s responsibility[,]” agreeing “not to send any

                                   9   patients to collections, even if the $25 is never paid.” Id. ¶ 45. Relator alleges that “[r]egardless

                                  10   of the amount Vibrant bills, and regardless of the amount a patient is ultimately responsible for

                                  11   under their insurance plan, the patient is never charged more than $25.” Id. “Even worse,”

                                  12   Relator alleges, “Vibrant instructs physicians to tell their patients to ignore any deductible or co-
Northern District of California
 United States District Court




                                  13   pay charges.” Id. To illustrate the money value of such a waiver, Relator points to two panels

                                  14   offered by Vibrant that are frequently ordered together, the Cardiovascular and Women’s Health

                                  15   panels, and the Medicare deductibles for those panels, which total more than $650. Id. ¶ 46 & Ex.

                                  16   Exhibit D (list of panels offered by Vibrant with CPT codes and Medicare deductibles). Even

                                  17   where patients have private insurance, Relator alleges, the typical deductible for these two panels

                                  18   would be over $130. Id. ¶ 47.

                                  19          Relator alleges Vibrant “knows this strategy is illegal because it provides a significant.

                                  20   benefit to a referring physician[]” and that “[i]n an effort to conceal its scheme and avoid liability,

                                  21   Vibrant does not list this policy on its website.” Id. ¶ 48. Instead, Relator alleges, “this

                                  22   information is communicated personally by Vibrant Sales Representatives.” Id. According to

                                  23   Relator, around April 2016, Tanja Elliott, Vibrant’s southern California Sales Representative,

                                  24   “explained this policy to a southern California physician.” Id. Relator alleges that “[w]hile

                                  25   Vibrant loses money on uncollected patient deductible and co- payments, it more than makes up

                                  26   the difference with the profits it earns on the Medicare and Medicaid referrals from doctors, which

                                  27   are obtained through Vibrant’s marketing scams.” Id. ¶ 49.

                                  28          Based on these allegations, Relator asserts two claims under the FCA: 1) a claim for
                                                                                          4
                                          Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 5 of 36




                                   1   presenting false claims in violation of 31 U.S.C. § 3729(a)(1)(A) (Claim One); and 2) a claim for

                                   2   making or using false records or statements material to payment or approval of false claims in

                                   3   violation of 31 U.S.C. § 3729(a)(1)(B) (Claim Two). Id. ¶¶ 54-62. It also asserts two claims

                                   4   under the CFCA that mirror the FCA claims: 1) a claim for presenting false claims in violation of

                                   5   Cal. Gov’t Code section 12651(a)(1) (Claim Seven); and 2) a claim for making or using false

                                   6   records or statements to obtain payment of approval of false claims in violation of Cal. Gov’t

                                   7   Code 12651(a)(2) (Claim Eight). In support of these claims, Relator points to guidance provided

                                   8   by the federal Department of Health and Human Services, Office of the Inspector General

                                   9   (“OIG”), which “has issued various advisory opinions regarding indicia of illicit schemes that

                                  10   providers have employed to defraud Medicare.” Id. ¶ 21. In particular, it points to OIG Advisory

                                  11   Opinion No. 05-08, issued in June 2005, in which it was found that “payments by a laboratory to

                                  12   referring physicians of $6 per day for ‘collection of blood samples,’ likely constituted ‘prohibited
Northern District of California
 United States District Court




                                  13   remuneration under the anti-kickback statute.’” Id. ¶ 22 (quoting OIG Advisory Opinion No. 05-

                                  14   08 at pp. 1-2).

                                  15          Relator also cites a 2014 OIG Special Fraud Alert that “described aspects of specimen

                                  16   processing arrangements that evidence unlawful practices[,]” including “(1) payment that exceeds

                                  17   fair market value for services actually rendered by the party receiving the payment; (2) payment

                                  18   that is made directly to the ordering physician rather than to the ordering physician’s group

                                  19   practice, which bears the cost of collecting and processing the specimen; and (3) payment that is

                                  20   made on a per-test, per-patient, or other basis that takes into account the volume of referrals. Id. ¶

                                  21   26 (citing 2014 Special Fraud Alert, pp. 4-5). According to Relator, “[t]hese statements are

                                  22   consistent with prior Advisory opinions, long notifying the industry that giving anything of value

                                  23   not paid for at fair market value gives rise to an inference that the gift is offered to induce business

                                  24   and is therefore a kickback.” Id. ¶ 27 (citing OIG Special Fraud Alert: Arrangements for the

                                  25   Provision of Clinical Laboratory Services (issued October 1994)).

                                  26          Finally, Relator contends “California law is equally clear” on this question, citing a recent

                                  27   notice by the California Department of Public Health addressing scenarios which likely constitute

                                  28   unlawful inducement under California’s kickback statute (Cal. Bus. & Prof. Code § 650),
                                                                                          5
                                           Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 6 of 36




                                   1   including one in which a laboratory pays an employee of a physician as an “independent”

                                   2   phlebotomist to collect samples for the physician’s patients. Id. ¶ 28 (quoting

                                   3   https://www.cdph.ca.gov/ programs/ lfs/ Documents/CLTAC%20Non-Compliance%20

                                   4   Inducement %20letter.pdf (last visited April 15, 20 16)).

                                   5          Relator also asserts four claims under California’s Insurance Fraud Prevention Act

                                   6   (“IFPA”): 1) a claim for violation of Cal. Ins. Code § 1871.7(a) based on the employment of

                                   7   runners, cappers, steerers, or other persons to procure patients for the purpose of submitting a

                                   8   claim to that patient’s insurance carrier (Claim Three); 2) a claim for violation of Cal. Ins. Code §

                                   9   1871.7(b) and Cal. Penal Code § 550(a)(1) based on the presentment of false claims for

                                  10   reimbursement of tests (Claim Four); 3) a claim for violation of Cal. Ins. Code § 1871.7(b) and

                                  11   Cal. Penal Code § 550(a)(5) based on making a writing in support of a false claim (Claim Five);

                                  12   and 4) a claim for violation of Cal. Ins. Code § 1871.7(b) and Cal. Penal Code § 550(a)(6) based
Northern District of California
 United States District Court




                                  13   on making a false claim for payment of a health benefit (Claim Six).

                                  14          B.     State and Federal Agency Guidance2
                                  15                 1. 1994 Special Fraud Alert
                                  16          OIG Special Fraud Alerts address “specific trends of health care fraud and certain practices

                                  17   of an industry-wide character” and are distributed directly to the health care provider community.

                                  18   Publication of OIG Special Fraud Alerts, 59 FR 65372, 65373 (“1994 Special Fraud Alert”). The

                                  19   1994 Special Fraud Alert addresses violations of the Medicare and Medicaid anti-kickback statute,

                                  20   42 U.S.C. § 1320a-7b(b), which “penalizes anyone who knowingly or willfully solicits, receives,

                                  21   offers or pays remuneration in cash or in kind to induce, or in return for: . . . [r]eferring an

                                  22
                                       2
                                  23     Vibrant asks the Court to take judicial notice of the agency guidance upon which Relator relies in
                                       its complaint, namely, OIG Advisory Opinion No. 05-08, the 2014 OIG Special Fraud Alert, the
                                  24   1994 Special Fraud Alert, and the California Department of Health notice. See Request for
                                       Judicial Notice (“RJN”), Exs. B-E. Because Relator does not challenge the authenticity of these
                                  25   documents and relies upon them in its complaint, the Court concludes that it may consider them in
                                       evaluating the sufficiency of the pleadings under Rule 12(b)(6) under the doctrine of
                                  26   incorporation. See Van Buskirk v. Cable News Network, Inc., 284 F.3d 977, 980 (9th Cir. 2002).
                                       Vibrant also asks the Court to take judicial notice of two documents published by the Centers for
                                  27   Medicare and Medicaid Services on the basis that they are published on government websites.
                                       RJN (citing Daniels-Hall v. Nat'l Educ. Ass'n, 629 F.3d 992, 999 (9th Cir. 2010) & Exs. A, F. As
                                  28   these documents are subject to judicial notice under Rule 201 of the Federal Rules of Evidence
                                       that request is granted.
                                                                                          6
                                          Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 7 of 36




                                   1   individual to a person for the furnishing, or arranging for the furnishing, of any item or service

                                   2   payable under the Medicare or Medicaid program[.]” Id. It addresses violations based on waivers

                                   3   of copays and deductibles, as well as provision of phlebotomy services to physicians.

                                   4          With respect to the practice of waiving copays and deductibles, the 1994 Special Fraud

                                   5   Alert explains that this practice by “charge-based providers, practitioners or suppliers is unlawful

                                   6   because it results in (1) false claims, (2) violations of the anti-kickback statute, and (3)

                                   7   excessive utilization of items and services paid for by Medicare.” Id. at 65374. It states that the

                                   8   Anti-Kickback Statute “makes it illegal to offer, pay, or receive anything of value as an

                                   9   inducement to generate business payable by Medicare or Medicaid” and that “[w]hen providers,

                                  10   practitioners or suppliers forgive financial obligations for reasons other than genuine financial

                                  11   hardship of the particular patient, they may be unlawfully inducing that patient to purchase items

                                  12   or services from them.” Id. It notes, however, that providers may forgive copayments and
Northern District of California
 United States District Court




                                  13   deductibles “in consideration of a particular patient’s financial hardship” so long as this exception

                                  14   is not used routinely and is used only “occasionally to address the special financial needs of a

                                  15   particular patient.” Id. at 65375.

                                  16          As to the provision of phlebotomy services to physicians, the 1994 Special Fraud Alert

                                  17   explains that “[s]ince the physician, not the patient, generally selects the clinical

                                  18   laboratory, it is essential that the physician’s decision regarding where to refer specimens is based

                                  19   only on the best interests of the patient.” Id. at 65377. It continues, “[w]henever a laboratory

                                  20   offers or gives to a source of referrals anything of value not paid for at fair market value, the

                                  21   inference may be made that the thing of value is offered to induce the referral of business.” Id.

                                  22   The alert notes that the OIG “has become aware of a number of practices engaged in by clinical

                                  23   laboratories and health care providers that implicate the anti-kickback statute in this manner.” Id.

                                  24   at 65377. It specifically addresses the provision of phlebotomy services to physicians, offering the

                                  25   following guidance:

                                  26                  When permitted by State law, a laboratory may make available to a
                                                      physician’s office a phlebotomist who collects specimens from
                                  27                  patients for testing by the outside laboratory. While the mere
                                                      placement of a laboratory employee in the physician’s office would
                                  28                  not necessarily serve as an inducement prohibited by the anti-

                                                                                          7
                                             Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 8 of 36



                                                       kickback statute, the statute is implicated when the phlebotomist
                                   1                   performs additional tasks that are normally the responsibility of the
                                                       physician’s office staff. These tasks can include taking vital signs or
                                   2                   other nursing functions, testing for the physician’s office laboratory,
                                                       or performing clerical services. Where the phlebotomist performs
                                   3                   clerical or medical functions not directly related to the collection or
                                                       processing of laboratory specimens, a strong inference arises that he
                                   4                   or she is providing a benefit in return for the physician's referrals to
                                                       the laboratory. In such a case, the physician, the phlebotomist, and the
                                   5                   laboratory may have exposure under the anti-kickback statute. . .
                                                       Furthermore, the mere existence of a contract between the laboratory
                                   6                   and the health care provider that prohibits the phlebotomist from
                                                       performing services unrelated to specimen collection does not
                                   7                   eliminate the OIG’s concern, where the phlebotomist is not closely
                                                       monitored by his [of her] employer or where the contractual
                                   8                   prohibition is not rigorously enforced.
                                   9   Id.
                                  10                  2. OIG Advisory Opinion No. 05-08 (June 2005)
                                  11            In 2005, OIG issued Advisory Opinion 05-08 (“2005 OIG Advisory Opinion”) in

                                  12   response to a request for guidance from a clinical laboratory that was considering allowing blood
Northern District of California
 United States District Court




                                  13   draws to be performed at physicians’ offices and then picked up by lab personnel and sent to the

                                  14   lab for testing. 2005 OIG Advisory Opinion at p. 2. The lab submitted claims for blood draws

                                  15   and blood tests to patients’ insurers, including Federal health care programs, and was concerned

                                  16   about running afoul of the anti-kickback statute under the proposed arrangement. Under the

                                  17   proposal, the lab would “(1) provide blood drawing supplies at no charge to the physicians; and

                                  18   (2) pay the physicians a per patient amount for the physicians’ services in collecting the blood

                                  19   specimens (collectively, the ‘blood draw remuneration’).” Id. It was proposed that the payment

                                  20   for drawing blood would be between $3 and $6 per draw, although the payment would be made no

                                  21   more than once each day for each patient. Id. The advisory opinion noted that “Medicare pays $3

                                  22   per patient encounter for specimen collection fees charged by physicians, independent

                                  23   laboratories, or hospital laboratories for the services and supplies they use in collecting blood

                                  24   samples, payable only to the person or entity that actually extracted the specimen from the

                                  25   patient.” Id. According to the advisory opinion, “[t]he Lab states that it wishes to enter into the

                                  26   Proposed Arrangement, because competing laboratories are paying referring physicians to perform

                                  27   blood draws.” Id.

                                  28            The OIG opined that this arrangement “would clearly implicate the anti-kickback
                                                                                          8
                                          Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 9 of 36




                                   1   statute[,]” explaining as follows:
                                                       There is a substantial risk that the Lab would be offering the blood
                                   2                   draw remuneration to the physicians in exchange for referrals to the
                                                       Lab. Under the Proposed Arrangement, the physicians could receive
                                   3                   up to twice the $3 amount Medicare pays for blood specimen
                                                       collection, plus any necessary blood-drawing supplies free of charge.
                                   4                   Particularly when viewed in the aggregate, this compensation
                                                       provides an obvious financial benefit to the referring physician, and
                                   5                   it may be inferred that this benefit would be in exchange for referrals
                                                       to the Lab. Where a laboratory pays a referring physician to perform
                                   6                   blood draws, particularly where the amount paid is more than the
                                                       laboratory receives in Medicare reimbursement, an inference arises
                                   7                   that the compensation is paid as an inducement to the physician to
                                                       refer patients to the laboratory, particularly in the circumstances
                                   8                   presented here.
                                   9                  Based on the facts presented here, it appears that the physicians may
                                                      well be soliciting the blood draw remuneration as a condition of
                                  10                  sending new or continued referrals to the Lab. In addition, we cannot
                                                      exclude the possibility that the Lab may be offering the blood draw
                                  11                  remuneration to the physicians with the intent to induce new or
                                                      continued referrals to the Lab, especially in light of the Lab’s
                                  12                  representation that the Proposed Arrangement is a reaction to
Northern District of California




                                                      competitors’ arrangements to provide such blood draw remuneration
 United States District Court




                                  13                  to referring physicians. These competitor arrangements similarly may
                                                      run afoul of the anti-kickback statute.
                                  14
                                                      Furthermore, the Proposed Arrangement essentially would give the
                                  15                  physicians the opportunity to earn a fee otherwise earned by the Lab.
                                                      Because the physicians would receive a portion of the Lab’s
                                  16                  reimbursement for blood tests resulting from the physicians’ referrals,
                                                      the physicians have a strong incentive to order more blood tests. As a
                                  17                  result, there is a risk of overutilization and inappropriate higher costs
                                                      to the Federal health care programs. We discern no safeguards in the
                                  18                  Proposed Arrangement to rebut the inference or reduce the risk that
                                                      the blood draw remuneration would be intended to induce referrals.
                                  19
                                                      Finally, we note that any specimen collection claims submitted by the
                                  20                  Lab to Medicare for blood draws performed by the referring
                                                      physicians would be improper claims and would implicate the Federal
                                  21                  False Claims Act, at 31 U.S.C. § 3729, and the Civil Monetary
                                                      Penalties Law, at section 1128A(a)(1) of the Act. As noted, Medicare
                                  22                  pays only the person or entity that actually extracted the specimen
                                                      from the patient. As such, Medicare rules would prohibit the Lab from
                                  23                  billing Medicare for blood collection services rendered by the
                                                      referring physicians. In addition, while under certain conditions
                                  24                  physicians can bill Medicare directly for collecting blood specimens,
                                                      if the Lab were to pay a physician to perform a blood draw, the
                                  25                  physician would be impermissibly “double dipping” if the physician
                                                      also billed Medicare for that blood draw.
                                  26
                                                      Accordingly, based on the totality of facts and circumstances, we
                                  27                  conclude that the Proposed Arrangement poses a substantial risk of
                                                      program fraud and abuse.
                                  28
                                                                                         9
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 10 of 36




                                   1   Id. at p. 4. The OIG noted, however, that “[a]ny definitive conclusion regarding the existence of

                                   2   an anti-kickback violation requires a determination of the parties’ intent, which determination is

                                   3   beyond the scope of the advisory opinion process.” Id. at p. 5.

                                   4                3. 2014 Special Fraud Alert
                                   5          In 2014, OIG issued another Special Fraud Alert in which it addressed the lawfulness of

                                   6   compensation paid by laboratories to referring physicians for blood specimen collection,

                                   7   processing, and packaging. OIG began by noting that it had “issued a number of guidance

                                   8   documents and advisory opinions addressing the general subject of remuneration offered and paid

                                   9   by laboratories to referring physicians,” including the 1994 Special Fraud Alert and the 2005 OIG

                                  10   Advisory Opinion. The 2014 Special Fraud Alert states, “[i]n these and other documents, we have

                                  11   repeatedly emphasized that providing free or below-market goods or services to a physician who is

                                  12   a source of referrals, or paying such a physician more than fair market value for his or her
Northern District of California
 United States District Court




                                  13   services, could constitute illegal remuneration under the anti-kickback statute.” The 2014 Special

                                  14   Fraud Alert was issued to supplement OIG guidance and addressed, inter alia, a trend “involving

                                  15   transfers of value from laboratories to physicians that [OIG] believe[d] present[ed] a substantial

                                  16   risk of fraud and abuse under the anti-kickback statute.” In particular, OIG addressed

                                  17   arrangements between labs and physicians “under which clinical laboratories are providing

                                  18   remuneration to physicians to collect, process, and package patients’ specimens, explaining:

                                  19                  Specimen Processing Arrangements typically involve payments from
                                                      laboratories to physicians for certain specified duties, which may
                                  20                  include collecting the blood specimens, centrifuging the specimens,
                                                      maintaining the specimens at a particular temperature, and packaging
                                  21                  the specimens so that they are not damaged in transport. Payments
                                                      under Specimen Processing Arrangements typically are made on a
                                  22                  per-specimen or per-patient-encounter basis and often are associated
                                                      with expensive or specialized tests.
                                  23
                                                      ...
                                  24
                                                      The anti-kickback statute is implicated when a clinical laboratory
                                  25                  pays a physician for services. Whether an actual violation of the
                                                      statute occurs depends on the intent of the parties—the anti-kickback
                                  26                  statute prohibits the knowing and willful payment of such amounts if
                                                      even one purpose of the payment is to induce or reward referrals of
                                  27                  Federal health care program business. This is true regardless of
                                                      whether the payment is fair market value for services rendered. The
                                  28                  probability that a payment is for an illegitimate purpose is increased,
                                                                                        10
                                       Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 11 of 36



                                                however, if a payment exceeds fair market value or if it is for a service
                                   1            for which the physician is paid by a third party, including Medicare.
                                   2            When determining the fair market value of a physician’s services, a
                                                clinical laboratory should consider whether the services for which it
                                   3            may compensate the physician have been, or may be, paid for,
                                                including through a bundled payment, by Medicare. Additionally, the
                                   4            laboratory should consider whether payment is appropriate at all; if
                                                the services for which the laboratory intends to compensate the
                                   5            physician are paid for by a third party through other means, such as
                                                payments intended to reimburse the physician for overhead expenses,
                                   6            any payment by the laboratory to the physician may constitute double
                                                payment for the physician’s services and, consequently, provide
                                   7            evidence of unlawful intent.
                                   8            Characteristics of a Specimen Processing Arrangement that may be
                                                evidence of such unlawful purpose include, but are not limited to, the
                                   9            following:
                                  10               •   Payment exceeds fair market value for services actually
                                                       rendered by the party receiving the payment.
                                  11               •   Payment is for services for which payment is also made by a
                                                       third party, such as Medicare.
                                  12               •   Payment is made directly to the ordering physician rather than
Northern District of California




                                                       to the ordering physician’s group practice, which may bear the
 United States District Court




                                  13                   cost of collecting and processing the specimen.
                                                   •   Payment is made on a per-specimen basis for more than one
                                  14                   specimen collected during a single patient encounter or on a
                                                       per-test, per-patient, or other basis that takes into account the
                                  15                   volume or value of referrals.
                                                   •   Payment is offered on the condition that the physician order
                                  16                   either a specified volume or type of tests or test panel,
                                                       especially if the panel includes duplicative tests (e.g., two or
                                  17                   more tests performed using different methodologies that are
                                                       intended to provide the same clinical information), or tests that
                                  18                   otherwise are not reasonable and necessary or reimbursable.
                                                   •   Payment is made to the physician or the physician’s group
                                  19                   practice, despite the fact that the specimen processing is
                                                       actually being performed by a phlebotomist placed in the
                                  20                   physician’s office by the laboratory or a third party.
                                  21            OIG’s concerns regarding Specimen Processing Arrangements are
                                                not abated when those arrangements apply only to specimens
                                  22            collected from non-Federal health care program patients.
                                                Arrangements that “carve out” Federal health care program
                                  23            beneficiaries or business from otherwise questionable arrangements
                                                implicate the anti-kickback statute and may violate it by disguising
                                  24            remuneration for Federal health care program business through the
                                                payment of amounts purportedly related to non-Federal health care
                                  25            program business. Because physicians typically wish to minimize the
                                                number of laboratories to which they refer for reasons of convenience
                                  26            and administrative efficiency, Specimen Processing Arrangements
                                                that carve out Federal health care program business may nevertheless
                                  27            be intended to influence physicians’ referrals of Federal health care
                                                program business to the offering laboratories.
                                  28
                                                                                   11
                                           Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 12 of 36




                                   1   2014 Special Fraud Alert.
                                   2
                                                    4. California Department of Public Health Notice
                                   3
                                              Relator also relies on a notice (“Notice”) published on the website of the California
                                   4
                                       Department of Public Health addressing inducements for referrals that violate California’s anti-
                                   5
                                       kickback statute, Bus. & Prof. Code § 650. Complaint ¶ 28; RJN, Ex. E.3 The Notice describes
                                   6
                                       the following unlawful scenarios:
                                   7                  1. A laboratory places phlebotomy personnel in a physician’s office.
                                                         These personnel are either employed by the laboratory or
                                   8                     contracted by the laboratory directly or indirectly through a third
                                                         party. In this scenario, the phlebotomy services are offered solely
                                   9                     to the physician’s patients and are not available to the public, and
                                                         the laboratory may or may not pay fair market value to the
                                  10                     physician to lease the space occupied by the phlebotomist. This is
                                                         considered an unlawful inducement, regardless of whether the
                                  11                     laboratory is paying fair market value to the physician for the
                                                         leased space. In exchange for access to phlebotomy services at
                                  12                     zero or reduced cost, the physician refers all of the physician’s
Northern District of California
 United States District Court




                                                         patients to the laboratory; the services are provided solely to the
                                  13                     physician’s patients and not to the general public. If the laboratory
                                                         is not paying fair market value to lease the space occupied by the
                                  14                     phlebotomist, this is further evidence of an unlawful inducement
                                                         violation.
                                  15
                                                      2. A laboratory pays an employee of a physician as an “independent”
                                  16                     phlebotomist to collect specimens for the physician’s patients.
                                                         After the issuance of the federal OIG Special Fraud Alert issued
                                  17                     June 25, 2014, a laboratory has changed its practices and now
                                                         enters into a contractual arrangement directly with an individual,
                                  18                     who is a member of a physician’s office staff, to provide
                                                         phlebotomy services to the laboratory. The individual provides
                                  19                     the phlebotomy services on-site in the physician’s office. The
                                                         individual remains an employee of the physician’s office and
                                  20                     simultaneously receives payments directly from the laboratory as
                                                         an independent contractor to the laboratory. In some
                                  21                     circumstances, the physician reduces the salary or compensation
                                                         to that individual when such an arrangement is in place. This
                                  22                     appears to be an inducement, as the laboratory is conferring a
                                                         benefit upon the physician by paying a portion of the
                                  23                     compensation of the physician’s employee. It is an inducement
                                                         regardless of whether the laboratory is paying fair market value to
                                  24                     the physician to lease the space utilized by the phlebotomist.
                                  25

                                  26
                                  27   3
                                         The notice is undated. Relator characterizes the notice as “recent” in its 2016 Complaint, which
                                  28   indicates that the website where the notice was posted was last visited in April 2016. Complaint ¶
                                       28.
                                                                                        12
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 13 of 36



                                              C.      The Motion
                                   1
                                                   In the Motion, Vibrant argues that all of Relator’s claims are insufficiently alleged. It
                                   2
                                       contends the FCA, CFCA and IFPA claims all fail because both of the alleged schemes involve
                                   3
                                       lawful business activity rather than kickbacks. In addition, it asserts, these claims sound in fraud
                                   4
                                       and therefore must meet the heightened pleading standard of Rule 9(b) of the Federal Rules of
                                   5
                                       Civil Procedure, which Vibrant contends Relator does not satisfy. Nor does Relator adequately
                                   6
                                       allege the required fraud elements of materiality and scienter, Vibrant asserts. Vibrant argues the
                                   7
                                       IFPA claims fail for the additional reason that Relator does not have standing under that statute.
                                   8
                                       Finally, Vibrant contends this case should be dismissed because it is being pursued by a “serial
                                   9
                                       relator” who is not an “insider privy to” the facts on which its claims are based and is the “type of
                                  10
                                       opportunistic, meritless and harmful filing that is supposed to be barred by Rule 9(b).”
                                  11
                                       III.        ANALYSIS
                                  12
Northern District of California
 United States District Court




                                               A.       Legal Standards
                                  13
                                                        1. Rule 12(b)(6)
                                  14
                                                   A complaint may be dismissed under Rule 12(b)(6) of the Federal Rules of Civil Procedure
                                  15
                                       for failure to state a claim on which relief can be granted. “The purpose of a motion to dismiss
                                  16
                                       under Rule 12(b)(6) is to test the legal sufficiency of the complaint.” N. Star Int’l v. Ariz. Corp.
                                  17
                                       Comm’n, 720 F.2d 578, 581 (9th Cir. 1983). Generally, a plaintiff’s burden at the pleading stage
                                  18
                                       is relatively light. Rule 8(a) of the Federal Rules of Civil Procedure states that a “pleading which
                                  19
                                       sets forth a claim for relief . . . shall contain . . . a short and plain statement of the claim showing
                                  20
                                       that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a).
                                  21
                                                   In ruling on a motion to dismiss under Rule 12(b)(6), the court analyzes the complaint and
                                  22
                                       takes “all allegations of material fact as true and construe[s] them in the light most favorable to the
                                  23
                                       non-moving party.” Parks Sch. of Bus. v. Symington, 51 F.3d 1480, 1484 (9th Cir. 1995).
                                  24
                                       Dismissal may be based on a lack of a cognizable legal theory or on the absence of facts that
                                  25
                                       would support a valid theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir.
                                  26
                                       1990). A complaint must “contain either direct or inferential allegations respecting all the material
                                  27
                                       elements necessary to sustain recovery under some viable legal theory.” Bell Atl. Corp. v.
                                  28
                                                                                             13
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 14 of 36




                                   1   Twombly, 550 U.S. 544, 562 (2007) (citing Car Carriers, Inc. v. Ford Motor Co., 745 F.2d 1101,

                                   2   1106 (7th Cir. 1984)). “A pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation

                                   3   of the elements of a cause of action will not do.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

                                   4   (quoting Twombly, 550 U.S. at 555). “[C]ourts ‘are not bound to accept as true a legal conclusion

                                   5   couched as a factual allegation.’” Twombly, 550 U.S. at 555 (quoting Papasan v. Allain, 478 U.S.

                                   6   265, 286 (1986)). “Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid of

                                   7   ‘further factual enhancement.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 557)

                                   8   (alteration in original). Rather, the claim must be “‘plausible on its face,’” meaning that the

                                   9   plaintiff must plead sufficient factual allegations to “allow[] the court to draw the reasonable

                                  10   inference that the defendant is liable for the misconduct alleged.” Id. (quoting Twombly, 550 U.S.

                                  11   at 570).

                                  12          “Ordinarily, a court may look only at the face of the complaint to decide a motion to
Northern District of California
 United States District Court




                                  13   dismiss.” Van Buskirk v. Cable News Network, Inc., 284 F.3d 977, 980 (9th Cir. 2002). However,

                                  14   under the doctrine of incorporation by reference, a court may look beyond the pleadings to

                                  15   consider documents that were “referenced extensively in the complaint and were accepted by all

                                  16   parties as authentic” without converting a Rule 12(b)(6) motion into a summary judgment motion.

                                  17   Id. (citing In re Silicon Graphics Inc. Sec. Litig., 183 F.3d 970, 986 (9th Cir.1999)).

                                  18                2. Rule 9(b)
                                  19          Rule 9(b) establishes a heightened pleading standard for claims based on fraud. “In

                                  20   alleging fraud or mistake, a party must state with particularity the circumstances constituting fraud

                                  21   or mistake.” Fed. R. Civ. P. 9(b). “To satisfy Rule 9(b), a pleading must identify ‘the who, what,

                                  22   when, where, and how of the misconduct charged,’ as well as ‘what is false or misleading about

                                  23   [the purportedly fraudulent] statement, and why it is false.’” United States ex rel. Cafasso v. Gen.

                                  24   Dynamic Sys., Inc., 637 F.3d 1047, 1055 (9th Cir. 2011) (alteration in original) (quoting U.S. ex

                                  25   rel. Ebeid v. Lungwitz, 616 F.3d 993, 998 (9th Cir. 2010)). In determining whether allegations of

                                  26   fraud are sufficiently detailed to meet the requirements of Rule 9(b), courts consider the primary

                                  27   purpose of the rule, namely, to “‘give adequate notice to an adverse party and enable that party to

                                  28   prepare a responsive pleading.’” United States ex re. Swobant v. United Healthcare Ins. Co., 848
                                                                                         14
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 15 of 36




                                   1   F.3d 1161, 1180 (9th Cir. 2016) (Swobant) (quoting 5A Charles Alan Wright & Arthur R. Miller,

                                   2   Federal Practice and Procedure § 1298 (3d ed. 2016)). The rule also “serves ‘to deter the filing of

                                   3   complaints as a pretext for the discovery of unknown wrongs, to protect defendants from the harm

                                   4   that comes from being subject to fraud charges, and to prohibit plaintiffs from unilaterally

                                   5   imposing upon the court, the parties and society enormous social and economic costs absent some

                                   6   factual basis.’” Id. (quoting Bly-Magee v. California, 236 F.3d 1014, 1018 (9th Cir. 2001)

                                   7   (internal quotation and citation omitted)).

                                   8          “Consistent with these requirements . . . [b]road allegations that include no particularized

                                   9   supporting detail do not suffice . . . but ‘statements of the time, place and nature of the alleged

                                  10   fraudulent activities are sufficient[.]’” Id. (quoting Wool v. Tandem Computers Inc., 818 F.2d

                                  11   1433, 1439 (9th Cir. 1987)). The court in Swobant explained:

                                  12                  Because this standard “does not require absolute particularity or a
Northern District of California




                                                      recital of the evidence,” Wright & Miller, supra, § 1298, a complaint
 United States District Court




                                  13                  need not allege “a precise time frame,” “describe in detail a single
                                                      specific transaction” or identify the “precise method” used to carry
                                  14                  out the fraud, Cooper v. Pickett, 137 F.3d 616, 627 (9th Cir. 1997).
                                                      The complaint also need not “identify representative examples of
                                  15                  false claims to support every allegation.” [Ebeid ex rel. United States
                                                      v. Lungwitz, 616 F.3d 993, 998 (9th Cir. 2010)]. “[I]t is sufficient to
                                  16                  allege ‘particular details of a scheme to submit false claims paired
                                                      with reliable indicia that lead to a strong inference that claims were
                                  17                  actually submitted.’” Id. at 998–99 (quoting United States ex rel.
                                                      Grubbs v. Ravikumar Kanneganti, 565 F.3d 180, 190 (5th Cir. 2009)).
                                  18
                                  19   Id.

                                  20                3. Statutory Framework
                                  21                  a. The Anti-Kickback Statute
                                  22          The federal Anti-Kickback Statute “prohibits payments in exchange for referrals to federal

                                  23   healthcare programs,” United States ex rel. Riedel v. Bos. Heart Diagnostics Corp., 332 F. Supp.

                                  24   3d 48, 57 (D.D.C. 2018), specifically making it unlawful to:

                                  25                  knowingly and willfully offer[ ] or pay[ ] any remuneration (including
                                                      any kickback, bribe, or rebate) directly or indirectly, overtly or
                                  26                  covertly, in cash or in kind to any person to induce such person to
                                                      refer an individual to a person for the furnishing or arranging for the
                                  27                  furnishing of any item or service for which payment may be made in
                                                      whole or in part under a Federal health care program.
                                  28
                                                                                         15
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 16 of 36




                                   1   42 U.S.C. § 1320a-7b(b)(2)(A). The Ninth Circuit has held that this provision “is violated if ‘one

                                   2   purpose of the payment was to induce future referrals . . . even if the payments were also intended

                                   3   to compensate for professional services.’” United States v. Kats, 871 F.2d 105, 108 (9th Cir. 1989)

                                   4   (quoting United States v. Greber, 760 F.2d 68, 69 (3d Cir.1985)).

                                   5                  b. The FCA
                                   6          “The False Claims Act makes liable anyone who ‘knowingly presents, or causes to be

                                   7   presented, a false or fraudulent claim for payment or approval,’ or ‘knowingly makes, uses, or

                                   8   causes to be made or used, a false record or statement material to a false or fraudulent claim.’”

                                   9   United States ex rel. Campie v. Gilead Scis., 862 F.3d 890, 898-99 (9th Cir. 2017) (quoting 31

                                  10   U.S.C. § 3729(a)(1)(A), (B)). “A ‘claim’ includes direct requests for government payment as well

                                  11   as reimbursement requests made to the recipients of federal funds under a federal benefits

                                  12   program.” Id. (citing 31 U.S.C. § 3729(b)(2)(A); Universal Health Servs., Inc. v. United States ex
Northern District of California
 United States District Court




                                  13   rel. Escobar, 136 S. Ct. 1989, 1996 (2016) (“Escobar”) (“What matters is not the label the

                                  14   Government attaches to a requirement, but whether the defendant knowingly violated a

                                  15   requirement that the defendant knows is material to the Government’s payment decision.”).

                                  16          Under the theory of “promissory fraud” or “fraud-in-the-inducement,” liability may be

                                  17   established under the FCA even if there was not an explicitly false claim. U.S. ex rel. Hendow v.

                                  18   Univ. of Phoenix, 461 F.3d 1166, 1173 (9th Cir. 2006) (“Hendow”). Under this theory, “liability

                                  19   will attach to each claim submitted to the government under a contract, when the contract or

                                  20   extension of government benefit was originally obtained through false statements or fraudulent

                                  21   conduct.” Id. Where an FCA claim is based on promissory estoppel, the essential elements of the

                                  22   claim are: “(1) a false statement or fraudulent course of conduct, (2) made with scienter, (3) that

                                  23   was material, causing (4) the government to pay out money or forfeit moneys due.” Id. at 1174.

                                  24          Because the FCA is an anti-fraud statute, complaints brought under the FCA must fulfill

                                  25   the heightened pleading requirements of Rule 9(b) of the Federal Rules of Civil Procedure. Bly-

                                  26   Magee v. California, 236 F.3d 1014, 1018 (9th Cir. 2001).

                                  27                  c. The CFCA

                                  28          Under the CFCA, a violation occurs when a person “[k]nowingly presents or causes to be
                                                                                        16
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 17 of 36




                                   1   presented a false or fraudulent claim for payment or approval[,]”or “[k]nowingly makes, uses, or

                                   2   causes to be made or used a false record or statement material to a false or fraudulent claim.”

                                   3   California Government Code sections 12651(a)(1) & (a)(2). “Where, as is the case here, ‘the

                                   4   statutory provisions of the federal FCA and California FCA are the same, courts apply the same

                                   5   analysis to federal and California FCA claims.’” United States v. Crescendo Bioscience, Inc., No.

                                   6   16-CV-02043-TSH, 2020 WL 2614959, at *6 (N.D. Cal. May 23, 2020) (quoting United States v.

                                   7   Safran Grp., S.A., 2017 U.S. Dist. LEXIS 8408, at *13, 2017 WL 235197 (N.D. Cal. Jan. 19,

                                   8   2017) (citation omitted)).

                                   9                  d. The California IFPA
                                  10          The California IFPA is “specifically tailored toward preventing and punishing the making

                                  11   of fraudulent claims to insurance companies.” State of California ex rel. Metz v. CCC Information

                                  12   Services, Inc., 149 Cal. App. 4th 402, 413 (2007) (citation omitted). Under section 1871.7(a), it
Northern District of California
 United States District Court




                                  13   is “unlawful to knowingly employ runners, cappers, steerers, or other persons to procure clients or

                                  14   patients to perform or obtain services or benefits . . . or to procure clients or patients to perform or

                                  15   obtain services or benefits under a contract of insurance or that will be the basis for a claim against

                                  16   an insured individual or his or her insurer.” Cal. Ins. Code § 1871.7(a). Subdivision (b),

                                  17   authorizes an action on behalf of the state against “every person” who violates Penal Code

                                  18   sections 549, 550 and 551.”

                                  19          Relator asserts IFPA claims based on alleged violations of Penal Code sections 550(a)(1),

                                  20   (a)(5) and (a)(6). Those subdivisions of section 550(a) make it unlawful to: “(1) knowingly

                                  21   present or cause to be presented any false or fraudulent claim for the payment of a loss or injury,

                                  22   including payment . . . under a contract of insurance.[;]” “(5) knowingly prepare, make, or

                                  23   subscribe any writing, with the intent to present or use it, or to allow it to be presented, in support

                                  24   of any false or fraudulent claim[;]” or “(6) knowingly make or cause to be made any false or

                                  25   fraudulent claim for payment of a health care benefit.”

                                  26          The IFPA allows for an “interested person” to bring a civil action for a violation of the

                                  27   statute “for the person and for the State of California” and “in the name of the State.” Cal. Ins.

                                  28   Code § 1871.7(e)(1).
                                                                                          17
                                           Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 18 of 36




                                   1          B.    FCA Claims

                                   2                 1. Whether Claims are Sufficiently Pled
                                   3                     a. Processing Fee Scheme
                                   4          Vibrant argues that the Processing Fee Scheme is lawful and does not violate the Anti-

                                   5   Kickback Statute or the FCA, emphasizing two aspects of the arrangement that it contends

                                   6   distinguish it from the illegal scenarios described in the agency guidance discussed above: 1) the

                                   7   fees are not merely for “a standard blood draw and collection” but rather cover a “panoply” of

                                   8   services that includes apportioning the blood in vials, spinning the vials in a centrifuge, packaging

                                   9   and labeling the vials and arranging for shipment; and 2) the $15 payment is made to a staff or

                                  10   family member and not to the physician. It also argues that Relator has not alleged the scheme in

                                  11   sufficient detail to meet the heightened pleading requirements of Rule 9(b). The Court finds these

                                  12   arguments to be unpersuasive.
Northern District of California
 United States District Court




                                  13          Vibrant’s argument that its payments are not “bribes” even though they exceed the amount

                                  14   Medicare reimburses physicians for a standard blood draw misses the mark in several respects.

                                  15   First, to the extent Vibrant offers evidence to support its position that the fees it pays are

                                  16   reasonable for the services provided and therefore do not exceed the fair market value,4 it

                                  17   misapprehends the standards that apply at the pleading stage of the case, which generally do not

                                  18   allow the Court to consider evidence offered to contradict the allegations in the complaint. Relator

                                  19   has alleged that Vibrant pays a fee that vastly exceeds the normal Medicare reimbursement rate for

                                  20   a blood draw and that it pays the fee even where the contracted “phlebotomists” are not licensed

                                  21   and did not draw the blood themselves, in other words, where the recipients performed no services

                                  22   whatsoever. Drawing all reasonable inferences in favor of Relator, these allegations are sufficient

                                  23   to support an inference that the fee paid by Vibrant exceeds the fair market value of the services

                                  24
                                       4
                                  25     In particular, Vibrant points to: 1) average Medicare billing rates in 2014 for routine
                                       venipuncture that it obtained from a “subscription based online database for medical billing codes
                                  26   and information”, Motion at 5 n. 1 (citing https://www.findacode.com/tools/code-print.php?set=
                                       CPT&c=36415); and 2) evidence that Medicare pays specimen collection fees of between
                                  27   $23.46 and $25.46 to laboratories for the collection of “certain samples for COVID-19 diagnostic
                                       testing” that require travel to patients that are homebound or in a skilled nursing facility. Id.
                                  28   (citing https://www.cms.gov/files/document/covid-19-laboratories.pdf. ).

                                                                                          18
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 19 of 36




                                   1   provided.

                                   2          Nor is there anything in the 2014 Special Fraud Alert that suggests that the OIG was

                                   3   concerned only with scenarios in which laboratories pay fees for a standard blood draw and/or pay

                                   4   more than the fair market value of the services provided in return for such fees. To the contrary,

                                   5   the OIG addressed the types of violations of the Anti-Kickback Statute that could arise in the

                                   6   context of “Specimen Processing Arrangements [that] typically involve payments from

                                   7   laboratories to physicians for certain specified duties, which may include collecting the blood

                                   8   specimens, centrifuging the specimens, maintaining the specimens at a particular temperature, and

                                   9   packaging the specimens so that they are not damaged in transport.” 2014 Special Fraud Alert.

                                  10   Moreover, as described above, the OIG offered a non-exclusive list of the types of features of such

                                  11   arrangements that could indicate an unlawful intent to induce referrals. While one scenario

                                  12   involved the payment of a fee that “exceeds fair market value for services actually rendered by the
Northern District of California
 United States District Court




                                  13   party receiving the payment[,]” the 2014 Special Fraud Alert also lists other features of Specimen

                                  14   Processing Arrangements that may indicate that an arrangement is unlawful. Further, the 2014

                                  15   Special Fraud Alert explains that while the “probability that a payment is for an illegitimate

                                  16   purpose is increased . . . if a payment exceeds fair market value[,]” a processing fee paid by the

                                  17   laboratory may violate the Anti-Kickback Statute “regardless of whether the payment is fair

                                  18   market value for services rendered.” 2014 Special Fraud Alert.

                                  19          Two of the examples listed in the 2014 Special Fraud Alert deserve mention here. First, it

                                  20   points to arrangements where “[p]ayment is made on a per-specimen basis for more than one

                                  21   specimen collected during a single patient encounter or on a per-test, per-patient, or other basis

                                  22   that takes into account the volume or value of referrals.” Here, Relator alleges that Vibrant pays a

                                  23   “separate $15 draw fee for each blood specimen drawn and submitted to Vibrant for testing.”

                                  24   Complaint ¶ 32. This aspect of the processing fee scheme therefore supports an inference of

                                  25   unlawful intent regardless of whether the amount of the payment reflects the fair market value of

                                  26   the services provided. Second, the 2014 Special Fraud Alert cautions against arrangements where

                                  27   “[p]ayment is made directly to the ordering physician rather than to the ordering physician’s group

                                  28   practice, which may bear the cost of collecting and processing the specimen.” While this example
                                                                                        19
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 20 of 36




                                   1   is not directly on point, it suggests that the arrangement alleged here is also unlawful to the extent

                                   2   Vibrant pays the fees directly to family or staff members even when they did not perform any of

                                   3   the services, thus leaving the physician’s practice to bear the cost of the services.

                                   4           Similarly unpersuasive is Vibrant’s argument that its fee processing scheme does not

                                   5   violate the Anti-Kickback Statute because payments for the blood draws are made directly to

                                   6   independent contractors and not to the physicians themselves, relying on United States v. Chang,

                                   7   No. CV133772DMGMRWX, 2017 WL 10544289 (C.D. Cal. July 25, 2017)). Motion at 10. The

                                   8   undersigned finds, however, that the reasoning in Chang is not consistent with the plain language

                                   9   of the Anti-Kickback Statute or the agency guidance discussed above. In Chang, the court found

                                  10   on a motion to dismiss that a laboratory that waived copays of patients referred to it did not state a

                                  11   claim for violation of the Anti-Kickback Statute or the FCA. 2017 WL 10544289, at *8. The

                                  12   court reasoned that in order to state a claim under either statute the relator was required to allege
Northern District of California
 United States District Court




                                  13   that the defendant laboratory “offered or paid remuneration to outside physicians to induce those

                                  14   physicians to refer their patients to” it but that instead, the relator had alleged that “the

                                  15   remuneration—waiver or offer of wavier of co-pays—was offered to the patients, not to the

                                  16   referring physicians.” Id. (citing Hanlester Network v. Shalala, 51 F.3d 1390, 1397 (9th Cir.

                                  17   1995) for the proposition that “to find a violation of the AKS’ anti-remuneration provision,

                                  18   defendants must have ‘knowingly and willfully offered or paid remuneration to induce referrals of

                                  19   program-related business’”; and citing United States v. Ctr. for Diagnostic Imaging, Inc., 787 F.

                                  20   Supp. 2d 1213, 1218 (W.D. Wash. 2011) for the proposition that “the [AKS] does not criminalize

                                  21   referrals for services paid for by Medicare or Medicaid—it criminalizes knowing and willful

                                  22   acceptance of remuneration in return for such referrals.” (internal quotation and citation omitted)).

                                  23           The undersigned respectfully disagrees with the court’s narrow reading of the FCA and the

                                  24   Anti-Kickback Statute in Chang. Neither of the cases cited by the court in support of its

                                  25   conclusion was factually on point or addressed whether a benefit conferred directly on third

                                  26   parties, such as patients in the case of fee waivers or staff or family members in the case of

                                  27   processing fees, can also indirectly confer a benefit on physicians sufficient to support a claim

                                  28   under the Anti-Kickback Statute and the FCA. Nor did the court in Chang address that question.
                                                                                          20
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 21 of 36




                                   1   The undersigned concludes that it can. The broad language of the Anti-Kickback Statute supports

                                   2   this conclusion, prohibiting payment of “any remuneration (including any kickback, bribe, or

                                   3   rebate) directly or indirectly, overtly or covertly, in cash or in kind to any person” if it is willful.

                                   4   42 U.S.C.A. § 1320a-7b(b)(1) (emphasis added). Likewise, the Ninth Circuit has found that the

                                   5   FCA should be construed broadly. See Hooper v. Lockheed Martin Corp., 688 F.3d 1037, 1048

                                   6   (9th Cir. 2012) (citing with approval the Fourth Circuit’s conclusion in Harrison v. Westinghouse

                                   7   Savannah River Co., 176 F.3d 776, 786 (4th Cir. 1999) that “after the 1986 amendments the False

                                   8   Claims Act should be broadly construed” (citing S. Rep. No. 99–345, at 9, reprinted in 1986

                                   9   U.S.C.C.A.N. at 5274)); see also 2014 Special Fraud Alert (addressing “transfers of value from

                                  10   laboratories to physicians that [OIG] believe[d] present[ed] a substantial risk of fraud and abuse

                                  11   under the anti-kickback statute”) (emphasis added).

                                  12           Here, Relator specifically alleges that “[b]y ordering tests through Vibrant, physicians are
Northern District of California
 United States District Court




                                  13   able to direct cash to a family member or pay their staff less, appease their staff, and in some

                                  14   instances, obtain a portion of the medical staff’s kickbacks.” Complaint ¶ 34. The Court finds

                                  15   that these allegations are sufficient to allege that physicians receive remuneration for referring

                                  16   patients to Vibrant under the fee processing scheme for the purposes of the Anti-Kickback Statute.

                                  17           The Court also rejects Vibrant’s argument that the processing fee scheme is not alleged

                                  18   with particularity under Rule 9(b) because Relator has not alleged with particularity that: 1) the

                                  19   $15 payments are remuneration to referral sources; or 2) that the payments were made in order to

                                  20   induce referrals. See Motion at 10-13.

                                  21           With respect to remuneration, Vibrant challenges Relator’s allegations in paragraph 34 of

                                  22   the complaint (quoted above) as insufficient because Relator does not identify “which physician

                                  23   practices its allegations relate to or which staff member(s) at those practices were paid less or

                                  24   appeased as a result of this arrangement, much less other supporting particularity, such as how

                                  25   much less the practice paid the staff member or when the practice made compensation

                                  26   adjustments or facts supporting why adjustments were made.” Id. at 10 (emphasis in original).

                                  27   Even in the case of the example offered by Relator of a physician’s wife who allegedly was paid

                                  28   by Vibrant even though she did not perform the blood draws, Vibrant argues that the allegations
                                                                                           21
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 22 of 36




                                   1   are too vague because Relator “fails to identify by name the physician or the spouse or who at

                                   2   Vibrant purportedly suggested to the physician that Vibrant contract with a family member, much

                                   3   less where or how these communications occurred, or specifically what was said by who.” Id. at

                                   4   11. Furthermore, it asserts, the check attached as an exhibit to the complaint is redacted so that it

                                   5   does not show who the check was made out to, making it impossible to determine if the recipient

                                   6   is the wife of a referring physician, as alleged. Id. In addition, Vibrant argues, the allegations are

                                   7   deficient because there are no specific facts to support Relator’s allegation that the recipient of the

                                   8   check did not perform the blood draw herself. Id. According to Vibrant, it is left to “blindly

                                   9   defend itself, in direct violation of Rule 9(b)” as a result of Relator’s conclusory allegations.

                                  10          Vibrant’s protest rings hollow. In the Complaint, Relator provides detailed allegations as

                                  11   to the “what” and “how” of the alleged fraudulent scheme, describing the nature of the

                                  12   arrangements between Vibrant and the “independent contractors” and how Vibrant’s sales
Northern District of California
 United States District Court




                                  13   representatives communicate with physicians to set up the sham contracts, including

                                  14   recommending that where family members are signed up as independent contractors they should

                                  15   have a different last name from the physician. Complaint ¶¶ 32-37, Exs. A- B. The Complaint

                                  16   and attached contracts also identify who signs the contracts and pays the fees (the COO, Vasanth

                                  17   Jayaraman), how the independent contractors invoice Vibrant, and when and where the invoices

                                  18   should be sent. Id. These allegations are more than sufficient to put Vibrant on notice of the

                                  19   nature of the fraudulent scheme alleged under the standards set forth in Swobant . See 848 F.3d at

                                  20   1180. The Court further notes that as to the individual whose name is redacted from the exhibits

                                  21   attached to the complaint, Vibrant’s argument fails for the additional reason that these are

                                  22   Vibrant’s own documents and contain unredacted information sufficient for Vibrant to determine

                                  23   the identity of the individual. The check, for example, shows the date it was written, the bank

                                  24   account on which it was drawn and the check number. See Complaint, Ex. C.

                                  25          Vibrant also argues that the processing fee scheme is not pled with particularity because

                                  26   “Relator does not identify with specificity any offer by Vibrant to exchange payments for referrals

                                  27   for tests, and moreover, inducement cannot be inferred from conclusory assertions, such as

                                  28   vaguely pled allegations that: Vibrant paid unlicensed phlebotomists and individuals not
                                                                                         22
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 23 of 36




                                   1   performing blood draws; unnecessary tests were ordered; and Vibrant paid too much for services.”

                                   2   Motion at 12. Again, Vibrant’s arguments are unpersuasive. As Judge Hixson recently found in a

                                   3   case involving similar allegations by the same Relator, detailed allegations about the nature of the

                                   4   processing fee scheme are sufficient to state a claim based on inducement even where the relator

                                   5   “hasn’t alleged any particular transaction or named a particular physician who sent samples” to the

                                   6   laboratory.” United States v. Crescendo Bioscience, Inc., No. 16-CV-02043-TSH, 2020 WL

                                   7   2614959, at *9 (N.D. Cal. May 23, 2020).

                                   8          Vibrant’s reliance upon United States ex rel. Gough v. Eastwestproto, Inc., No. CV 14-465

                                   9   DMG (SHX), 2018 WL 6929332 (C.D. Cal. Oct. 24, 2018) (“Gough”) is also misplaced. In

                                  10   Gough, the relator asserted FCA claims based on an alleged kickback scheme between an

                                  11   ambulance company and various hospitals where the ambulance company offered cash and gifts to

                                  12   hospitals in return for Medicare referrals. 2018 WL 6929332 at *3 (C.D. Cal. Oct. 24, 2018). The
Northern District of California
 United States District Court




                                  13   court held that the FCA claims were insufficiently pled because the complaint “lack[ed] any

                                  14   reliable indicia that [the hospital] solicited or received remuneration in exchange for Medicare

                                  15   referrals to [the ambulance company], or that the alleged kickbacks led to the submission of claims

                                  16   for reimbursement under Medicare. Id. at *6. In contrast to the allegations here, where there are

                                  17   not only detailed allegations about the scheme but also copies of signed contracts and a sample

                                  18   check paid by Vibrant to an independent contractor, the complaint in Gough contained almost no

                                  19   specific facts to show that the defendant in that case had ever offered cash or gifts to the hospitals

                                  20   in the first place. Id. at * 6-7. Therefore, the Court finds that the holding in Gough does not

                                  21   support Vibrant’s position.

                                  22          For these reasons, the Court rejects Vibrant’s assertion that Relator’s FCA claims based on

                                  23   the processing fee scheme should be dismissed for failure to meet the requirements of Rule

                                  24   12(b)(6) and Rule 9(b).

                                  25                     b. Waiver Scheme
                                  26          Vibrant argues that Relator also has not sufficiently alleged any illegal conduct based on

                                  27   waiver of deductibles and copays, attempting to distinguish the guidance in the 1994 Special

                                  28   Fraud Alert on the basis that the waiver alleged here relates to privately insured patients and
                                                                                         23
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 24 of 36




                                   1   because there are no copayments for laboratory services under Medicare. Motion at 7-8 (citing

                                   2   RJN, Ex. F (Medicare Claims Processing Manual, ch. 16 § 30.2 (Jan. 17, 2020)). It further asserts

                                   3   that the claims as to this scheme are deficient because the 1994 Special Fraud Alert recognizes that

                                   4   providers can waive copays and deductibles based on financial hardship and Relator has not

                                   5   alleged that the waivers here are based on financial hardship. Id. at 8. Neither of these arguments

                                   6   is persuasive.

                                   7          First, Vibrant’s reading of the 1994 Special Fraud Alert as covering only waivers of copays

                                   8   or deductibles paid by Medicare and Medicaid patients is incorrect. While the 1994 Special Fraud

                                   9   Alert offered as an example a scenario in which the laboratory waived charges to Medicare

                                  10   patients, it made clear that the waiver of copays and deductibles may run afoul of the Anti-

                                  11   Kickback Statute because that statute prohibits the transfer of “anything of value” as an

                                  12   inducement for referrals. To the extent there is any doubt as to whether offering waivers of copays
Northern District of California
 United States District Court




                                  13   and deductibles for physicians’ private insurance patients is something of value that may violate

                                  14   the Anti-Kickback Statute, the 2014 Special Fraud Alert explains why it does. In particular, in

                                  15   addressing “carve-outs,” it states: “Because physicians typically wish to minimize the number of

                                  16   laboratories to which they refer for reasons of convenience and administrative efficiency,

                                  17   Specimen Processing Arrangements that carve out Federal health care program business may

                                  18   nevertheless be intended to influence physicians’ referrals of Federal health care program business

                                  19   to the offering laboratories.” While that statement is made in the context of specimen referral

                                  20   arrangements, the same reasoning applies to offers to waive copays and deductibles.

                                  21          The court in United States ex rel. Riedel v. Bos. Heart Diagnostics Corp., reached the same

                                  22   conclusion. 332 F. Supp. 3d 48, 67 (D.D.C. 2018) (“Boston Heart”). In that case, the relator

                                  23   asserted FCA claims based on the allegation that the defendant, Boston Heart, “waive[d]

                                  24   physicians’ privately insured patients’ co-payments and deductibles, so long as the physicians

                                  25   sen[t] all of their lipid-related business—especially the highly profitable Medicare business—to

                                  26   [Boston Heart].” Id. (internal quotations and citation omitted). The court rejected Boston Heart’s

                                  27   argument that the arrangement did not involve kickbacks under the 1994 Special Fraud Alert,

                                  28   reasoning that while that guidance “reference[d] waiver of charges to managed care patients as an
                                                                                        24
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 25 of 36




                                   1   ‘example[ ] of lab services arrangements that may violate the [A]nti-[K]ickback [S]tatute,’ it

                                   2   note[d] that this example fits the category of ‘cases where the provision of free services results in a

                                   3   benefit to the provider,’ and thus, ‘the [A]nti-[K]ickback [S]tatute is implicated.’” Id. (quoting

                                   4   1994 Special Fraud Alert, 59 Fed. Reg. at 65,377). The court explained further that the relator’s

                                   5   allegations concerning waiver of privately insured patients’ co-payments and deductibles “would

                                   6   also implicate the Anti-Kickback Statute because it would constitute the provision of free services,

                                   7   i.e., the waiver of co-payments and deductibles, that result in a benefit to the provider, i.e., by

                                   8   saving the physicians’ time not spent on explaining co-payment and deductible charges to patients

                                   9   and providing them an opportunity to market free laboratory testing.” Id.

                                  10          Likewise, Judge Hixson concluded in Crescendo that the relator sufficiently alleged a

                                  11   kickback scheme based on a laboratory’s offer to cap patient payments at $25 for all of the

                                  12   referring physician’s patients, reasoning as follows:
Northern District of California
 United States District Court




                                  13                  A reasonable reading of that allegation is that Crescendo “does not
                                                      charge patients any amount in excess of $25,” something of “value to
                                  14                  both physicians and their patients,” “in order to induce the referral of
                                                      additional business.” Defendants make much of the fact that STF does
                                  15                  not explicitly draw the line from Crescendo waiving co-pays or
                                                      deductibles to physicians referring patients. “[STF] presupposes a
                                  16                  link,” they argue, “and in doing so, asks the Court to fill the gap.”
                                                      Mem. at 18. But the gap is not a large one to fill: no patient likes
                                  17                  additional costs; if a lab waives patients’ fees and commits to not
                                                      referring patients to collections, thus allowing physicians to “reassure
                                  18                  their patients that they will not be responsible for more than $25,” that
                                                      is something of value to physicians and they might be induced to send
                                  19                  more patients to that lab (especially when the lab is paying $15 per
                                                      sample to boot). See Bos. Heart, 332 F. Supp. 3d at 66 . . . . In any
                                  20                  event, STF referenced the 1994 Special Fraud Alert, see FAC ¶ 53,
                                                      which advised that “[i]n certain cases, a provider, practitioner or
                                  21                  supplier who routinely waives Medicare copayments or deductibles
                                                      also could be held liable under the Medicare and Medicaid anti-
                                  22                  kickback statute,” 59 FR at 65374-75; see also id. at 65377
                                                      (“Whenever a laboratory offers or gives to a source of referrals
                                  23                  anything of value not paid for at fair market value, the inference may
                                                      be made that the thing of value is offered to induce the referral of
                                  24                  business.”); 2014 OIG Special Fraud Alert (advising the same). Thus,
                                                      whether or not STF alleged why routine waivers of co-pays or
                                  25                  deductibles might run afoul of the AKS, STF managed to raise an
                                                      inference that they do.
                                  26
                                  27   2020 WL 2614959, at *10 (N.D. Cal. May 23, 2020).

                                  28          The Court also rejects Vibrant’s argument that Relator was required to allege facts
                                                                                          25
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 26 of 36




                                   1   showing that the waivers were not offered based on financial hardship. The OIG has explained

                                   2   that “under the anti-kickback statute, neither a legitimate business purpose for the arrangement,

                                   3   nor a fair market value payment, will legitimize a payment if there is also an illegal purpose (i.e.,

                                   4   inducing Federal health care program business).” U.S. ex rel. Bartlett v. Ashcroft, 39 F. Supp. 3d

                                   5   656, 678 (W.D. Pa. 2014) (quoting OIG Supplemental Compliance Program Guidance for

                                   6   Hospitals, 70 Fed.Reg. 4858, 4864 (Jan. 31, 2005)). Rather, the relevant question is whether “one

                                   7   purpose of the remuneration [is] to induce or reward the referral or recommendation of business

                                   8   payable in whole or in part by a Federal health care program[.]” Id. (emphasis added); see also

                                   9   United States v. Berkeley Heartlab, Inc., 225 F. Supp. 3d 487, 499 n. 3 (D.S.C. 2016) (“Berkeley

                                  10   Heartlab I”) (“the appropriate test for whether the waiver of a copay constitutes remuneration is

                                  11   whether the complaint has alleged that at least one of the purposes of the waiver was to induce

                                  12   patient referrals.”) (citation omitted). Thus, Relator is not required to allege facts showing that
Northern District of California
 United States District Court




                                  13   Vibrant waives copays and deductibles exclusively to induce referrals or that Vibrant’s waivers are

                                  14   not sometimes justified as to specific patients based on financial hardship. Rather, it is sufficient

                                  15   that Relator has alleged facts showing that Vibrant offers to waive copays and deductibles as to all

                                  16   of a referring physicians’ patients to induce referral of patients, including Medicare and Medicaid

                                  17   patients.

                                  18           The Court also rejects Vibrant’s argument that Relator’s complaint does not satisfy the

                                  19   pleading requirements of Rule 9(b) with respect to the waiver scheme. First, the Complaint

                                  20   alleges specific details about the scheme: that to induce referrals “Vibrant does not charge patients

                                  21   any amount in excess of $25, regardless of the patient’s responsibility” and “agrees not to send

                                  22   any patients to collections, even if the $25 is never paid” (the “what”); that in one case, in April

                                  23   2016, Vibrant’s Southern California sales representative, Tanja Elliot, explained the policy to a

                                  24   Southern California physician (the “who” and “when”); that Vibrant does not list the policy on its

                                  25   website but instead communicates personally through sales representatives, and that it instructs

                                  26   physicians to tell their patients to ignore any deductible or copay charges (the “how”).

                                  27           Vibrant argues that these allegations are not sufficient, pointing to Georgia v. Lab. Corp.

                                  28   of Am., No. 1:13-CV-1838-SCJ, 2015 WL 12591797, at *1 (N.D. Ga. May 19, 2015). In that case
                                                                                         26
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 27 of 36




                                   1   the relator alleged that the defendants “provided kickbacks in the form of deeply discounted

                                   2   private rates to draw in large volumes of pull through’ Medicaid and other referrals.” 2015 WL

                                   3   12591797 at *1. Although the relator listed examples of such low rates in the complaint, the Court

                                   4   found that the complaint did not allege “any specific kickback” and did not satisfy Rule 9(b)

                                   5   because it did not “identify[ ] an improper/illegal referral or Medicaid claim from such referral.”

                                   6   Id. at *4.   The Court finds that Georgia v. Lab. Corp. is distinguishable to the extent the FCA

                                   7   claims in that case are based on a theory that differs from the waiver theory here; instead of

                                   8   alleging that a uniform promise is made to cap payments at $25, the relator in Georgia v. Lab.

                                   9   Corp. alleged that the kickback in that case took the form of discounted rates, which apparently

                                  10   varied. Therefore, that case sheds little light on the adequacy of the pleadings here.

                                  11           Vibrant also argues that Relator fails to meet the heightened pleading standard as to

                                  12   whether the waivers are remuneration to referring physicians or inducements to make referrals.
Northern District of California
 United States District Court




                                  13   Again, the Court disagrees. With respect to the first argument, Vibrant relies heavily on United

                                  14   States v. Chang, No. CV133772DMGMRWX, 2017 WL 10544289 (C.D. Cal. July 25, 2017)).

                                  15   For the reasons set forth above, the Court finds the reasoning of that case to be unpersuasive and

                                  16   declines to follow it. Rather, the undersigned agrees with the reasoning of Crescendo, Boston

                                  17   Heart and Berkeley Heartlab I discussed above, in which the courts found that the relators had

                                  18   sufficiently pled under Rule 9(b) FCA claims based on allegations that the defendants had

                                  19   promised to waive or cap the copays of referring physicians’ patients.

                                  20            The Court also rejects Vibrant’s argument that Relator has not satisfied Rule 9(b) in

                                  21   alleging that the fee waiver was offered as an inducement for referrals. Vibrant points out that the

                                  22   complaint “does not detail any instance of anyone at Vibrant informing any referral source that

                                  23   patients’ copayments of deductibles would be capped or waived in exchange for the referral of

                                  24   business.” Motion at 15. However, the complaint raises a strong inference that that is exactly

                                  25   what Vibrant’s policy was aimed at, alleging that Vibrant does not post the policy on its website

                                  26   because it “knows this strategy is illegal because it provides a significant benefit to a referring

                                  27   physician.” Complaint ¶ 48. The complaint also provides a specific example of Vibrant’s effort

                                  28   to conceal its kickback scheme, alleging that a specific sales representative, Tanja Elliot,
                                                                                         27
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 28 of 36




                                   1   personally communicated it to a physician in Southern California in 2016. Id.

                                   2                  c. Reliable Indicia
                                   3          Vibrant also argues that the complaint is deficient because it does not offer any specific

                                   4   examples of “pull through Medicare and Medicaid business” to establish that false claims have

                                   5   been made on a federal health care program. Motion at 15. Moreover, Vibrant asserts, Relator

                                   6   has not alleged “reliable indicia” that raise a strong inference that false claims were actually

                                   7   submitted because “Relator is an outsider with no actual knowledge of its allegations.” Id. at 16.

                                   8   As discussed above, the Ninth Circuit has held that a relator is not required under Rule 9(b) to

                                   9   identify representative examples of false claims in order to adequately allege that false claims

                                  10   were submitted, though that is “one means of meeting the pleading obligation.” Ebeid ex rel. U.S.

                                  11   v. Lungwitz, 616 F.3d 993, 998 (9th Cir. 2010). Rather, the heightened pleading requirement can

                                  12   also be satisfied by “alleg[ing] ‘particular details of a scheme to submit false claims paired with
Northern District of California
 United States District Court




                                  13   reliable indicia that lead to a strong inference that claims were actually submitted.’” Id. (quoting

                                  14   United States ex rel. Grubbs v. Ravikumar Kanneganti, 565 F.3d 180, 190 (5th Cir. 2009)). “A

                                  15   complaint provides the requisite indicia of reliability where ‘specific allegations of the defendant’s

                                  16   fraudulent conduct necessarily [lead] to the plausible inference that false claims were presented to

                                  17   the government.’” United States v. Berkeley Heartlab, Inc., 247 F. Supp. 3d 724, 729 (D.S.C.

                                  18   2017) (Berkeley Heartlab II”) (quoting U.S. ex rel. Nathan v. Takeda Pharm. N. Am., Inc., 707

                                  19   F.3d 451, 457 (4th Cir. 2013)).

                                  20          Here, Relator has alleged specific facts about two different schemes involving fraudulent

                                  21   conducts and has also provided direct evidence of the processing fee scheme in the form of

                                  22   contracts and payments. These allegations provide reliable indicia that false claims were

                                  23   submitted to Medicare and Medicaid. See Berkeley Heartlab II, 247 F. Supp. 3d at 731 (“There is

                                  24   no need for the Riedel FAC to distinguish between legal and illegal referrals as he has alleged that

                                  25   all referrals from some physicians and practices were tainted by the improper promise of co-

                                  26   payment and deductible waivers.”).

                                  27                2. Whether Claims Adequately Allege Materiality

                                  28          Vibrant argues that Relator’s FCA claims fail because it has not alleged that fraud was
                                                                                         28
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 29 of 36




                                   1   material to the government’s decision to pay a claim, citing Escobar, 136 S. Ct. (2016). Motion at

                                   2   16. The Court disagrees.

                                   3          Under the False Claims Act, a falsehood is material if it has “a natural tendency to

                                   4   influence, or be capable of influencing, the payment or receipt of money or property.” 31 U.S.C. §

                                   5   3729(b)(4). In Escobar, the Court addressed whether an FCA claim can be asserted under an

                                   6   implied certification theory and found that it can so long as a claim “does not merely request

                                   7   payment, but also makes specific representations about the goods or services provided; and . . .

                                   8   the defendant’s failure to disclose noncompliance with material statutory, regulatory or contractual

                                   9   requirements makes those representations misleading half-truths.” Id. at 2001. It cautioned that

                                  10   “[t]he materiality standard is demanding” because “[t]he False Claims Act is not an all-purpose

                                  11   antifraud statute . . . or a vehicle for punishing garden-variety breaches of contract or regulatory

                                  12   violations.” Id. at 2003 (internal quotation and citation omitted). Thus, for example, “[a]
Northern District of California
 United States District Court




                                  13   misrepresentation cannot be deemed material merely because the Government designates

                                  14   compliance with a particular statutory, regulatory, or contractual requirement as a condition of

                                  15   payment.” Id.

                                  16          Here, however, Relator’s claims are not based on a theory of implied certification. Relator

                                  17   is not seeking to turn a “garden-variety” regulatory violation into an FCA claim. Instead, it is

                                  18   asserting its FCA claims under the Anti-Kickback Statute. Congress amended the Anti-Kickback

                                  19   Statute in 2010 as part of the Affordable Care Act to provide that “a claim that includes items or

                                  20   services resulting from a violation of [the Anti-Kickback Statute] constitutes a false or fraudulent

                                  21   claim for purposes of [the FCA].” 42 U.S.C. § 1320a-7b(g). In other words, where it is

                                  22   adequately alleged that claims for Medicare and Medicaid reimbursement cover services that were

                                  23   provided as a result of a violation of the Anti-Kickback Statute, the materiality requirement is

                                  24   adequately alleged. See United States ex rel. Wood v. Allergan, Inc., 246 F. Supp. 3d 772, 812

                                  25   (S.D.N.Y. 2017), rev’d on other grounds and remanded, 899 F.3d 163 (2d Cir. 2018) (finding that

                                  26   the 2010 amendment to the FCA under the Affordable Care Act “ma[d]e plain” that to the extent

                                  27   the relator adequately alleged a claim under the Anti-Kickback Statute its FCA claim was also

                                  28   adequately pled). Because the Court finds that Relator has adequately alleged violations of the
                                                                                         29
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 30 of 36




                                   1   Anti-Kickback Statute, the Court rejects Vibrant’s argument that Relator’s claims fail because

                                   2   they do not allege facts establishing materiality.

                                   3                3. Whether Claims Adequately Allege Scienter
                                   4          Although Rule 9(b) requires that “a party must state with particularity the circumstances

                                   5   constituting fraud[,]” its heightened pleading standard does not apply to “[m]alice, intent,

                                   6   knowledge, and other conditions of a person’s mind[,] [which] may be alleged generally.” Fed. R.

                                   7   Civ. P. 9(b). Vibrant recognizes that under Rule 9(b), the scienter element of an FCA claim must

                                   8   only meet the general plausibility standards of Rule 12(b)(6) and Rule 8 but contends that standard

                                   9   is not met by Relator’s complaint. Motion at 17-19. The Court disagrees.

                                  10          The Ninth Circuit has held that under Rule 9(b), a complaint “needs only to allege facts

                                  11   supporting a plausible inference of scienter.” Winter ex rel. United States v. Gardens Reg’l Hosp.

                                  12   & Med. Ctr., Inc., 953 F.3d 1108, 1122 (9th Cir. 2020) (citing United States ex rel. Lee v.
Northern District of California
 United States District Court




                                  13   Corinthian Colls., 655 F.3d 984, 997 (9th Cir. 2011)). In Winter, it further explained that “unlike

                                  14   in common law fraud claims, a plaintiff need not prove a ‘specific intent to defraud’ under the

                                  15   FCA—the Act imposes liability on any person acting ‘knowingly,’ which includes acting with

                                  16   ‘actual knowledge,’ as well as acting ‘in deliberate ignorance,’ or ‘in reckless disregard of the

                                  17   truth or falsity of the information[.]’” Id. (quoting 31 U.S.C. § 3729(b)(1)).

                                  18          Like the courts in Crescendo in Berkeley Heartlab I, the Court finds that this standard is

                                  19   met based on the fee processing and waiver schemes alleged in the complaint. See Crescendo,

                                  20   2020 WL 2614959, at *9 (holding that drawing all reasonable inferences in favor of the relator,

                                  21   allegations that defendant’s processing fee contract went to “great lengths to describe this

                                  22   [‘processing’] fee as ‘fair market value’ for the physician’s work” supported a plausible inference

                                  23   that the defendants “knew their practice was prohibited [remuneration] and were trying to stay one

                                  24   step ahead of the string of successful cases holding other laboratories responsible for the same

                                  25   conduct.”); Berkeley Heartlab I, 225 F. Supp. at 500 (holding that scienter was adequately alleged

                                  26   based on allegations that “(1) a purpose of the [processing and handling] fees was to induce

                                  27   referrals . . . ; (2) Defendants knew of the illegality of the [processing and handling] fees and tried

                                  28   to disguise them by calling them [processing and handling] fees instead of draw fees . . .; and (3)
                                                                                            30
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 31 of 36




                                   1   Defendants received emails from physician practices and their attorneys asserting that the

                                   2   processing and handling fees were kickbacks[.]”).

                                   3             As to the processing fee scheme, Relator has alleged that physicians are “told that their

                                   4   relatives and staff members can enter into sham contracts with Vibrant,” advised that in the case of

                                   5   family members, it should be a family member “with a different last name, so as not to raise

                                   6   suspicions,” that the draw fees paid by Vibrant were called “processing and handling fees” rather

                                   7   than “draw fees,” and that it paid the fees even where the “independent contractor” did not

                                   8   perform the services and was not licensed to perform the services. Complaint ¶¶ 32, 33, 39, 41.

                                   9   As to the waiver scheme, Relator alleges that “Vibrant knows this strategy is illegal because it

                                  10   provides a significant benefit to a referring physician” and that “[i]n an effort to conceal its

                                  11   scheme and avoid liability, Vibrant does not list this policy on its website.” Id. ¶ 48. These

                                  12   allegations are sufficient to raise a plausible inference of scienter.
Northern District of California
 United States District Court




                                  13        C.      CFCA Claims
                                  14             Vibrant asserts that Relator’s claims under the CFCA “fail for the same reasons as

                                  15   Relator’s federal FCA claims[.]” Motion at 19. The Court rejects Vibrant’s challenges to the

                                  16   CFCA claims for the same reasons it finds that the FCA claims survive Vibrant’s motion to

                                  17   dismiss.

                                  18        D.      IFPA Claims
                                  19                1.    Whether Standing is Adequately Alleged
                                  20             Under the IFPA, “[a]ny interested persons, including an insurer, may bring a civil action

                                  21   for a violation of this section for the person and for the State of California.” Cal. Ins. Code §

                                  22   1871.7(e)(1). Vibrant argues that Relator’s IFPA claims fail because there are no allegations

                                  23   establishing that Relator is an “interested person,” citing United States v. Lab. Corp. of Am.

                                  24   Holdings, No. 9:14-CV-3699-RMG, 2019 WL 236799 (D.S.C. Jan. 16, 2019) (“Lutz”).

                                  25             In Lutz, the relators asserted qui tam claims under the federal FCA, the California IFPA

                                  26   and the Illinois IFPA based on “several fraudulent schemes impacting government health care

                                  27   programs, such as billing for medically unnecessary tests and paying kickbacks to physicians for

                                  28   ordering tests from LabCorp[,]” among other things. 2019 WL 236799 at *1. Both the California
                                                                                          31
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 32 of 36




                                   1   IFPA and the Illinois IFPA (which was patterned after the California law) allow an “interested

                                   2   person” to bring an enforcement action, and the defendants in Lutz argued that the relators’ claims

                                   3   should be dismissed on the pleadings because the relators were not “interested persons.” Id. The

                                   4   court agreed, finding that “based on case law in Illinois and California, something more than

                                   5   merely being a source of the information or standing to gain from any ultimately recovery is

                                   6   required to qualify as an ‘interested person’ under the statutes.” Id. at *5. Because the complaint

                                   7   did “not allege that [the] [r]elators [had] any contacts, were employed or were in any other way

                                   8   affected by or involved in the submission of allegedly false claims and/or kickback tainted claims

                                   9   in California or Illinois,” the court concluded they were not “interested person[s]” under either

                                  10   California or Illinois law. Id.

                                  11          In reaching this conclusion, the Court in Lutz rejected the relators’ argument that a more

                                  12   “expansive” interpretation of “interested person” should be applied. Id. The relators cited two
Northern District of California
 United States District Court




                                  13   California cases in support of this argument: People ex rel. Strathmann v. Acacia Research

                                  14   Corp., 210 Cal. App. 4th 487 (2012) (“Strathmann”) and People ex rel. Alzayat v. Hebb, 18 Cal.

                                  15   App. 5th 801 (2017) (“Alzayat”). In Strathmann, the court addressed whether the plaintiff’s IFPA

                                  16   claims were exempt from California’s anti-SLAPP law because they were “brought solely in the

                                  17   public interest or on behalf of the general public.” 210 Cal. App. 4th at 499 (citing Code of Civil

                                  18   Procedure section 425.17). The court concluded that they were, explaining that the plaintiff was

                                  19   “an ‘interested person’ bringing this action as a qui tam relator.” Id. at 500. The court explained

                                  20   further, “[a] qui tam relator is essentially a self-appointed private attorney general, and his

                                  21   recovery is analogous to a lawyer’s contingent fee. The relator has no personal stake in the

                                  22   damages sought—all of which, by definition, were suffered by the government.” Id. at 501

                                  23   (internal quotation and citation omitted). In Alzayat, the court addressed whether the exclusivity

                                  24   of the California Workers’ Compensation law barred a claim under the IFPA and found that it did

                                  25   not. 18 Cal. App. 5th at 829. The court found that “[a]s a true qui tam provision, Insurance Code

                                  26   section 1871.7 does not mandate that the relator has suffered his or her own injury” and further

                                  27   noted that the lawsuit under section 1871.7 was “based on an injury allegedly suffered by the

                                  28   People of the State of California, and was not filed for the purpose of remedying an injury suffered
                                                                                         32
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 33 of 36




                                   1   by [the relator].” Id. at 831.

                                   2           The court in Lutz found Strathmann and Alzayat to be unhelpful, however, because they

                                   3   did not directly address the meaning of the term “interested party.” 2019 WL 236799 at *5.

                                   4   Instead, it looked to two other California cases that addressed the meaning of that term in the

                                   5   context of other statutes: Associated Boat Indus. of N. Cal. v. Marshall, 104 Cal. App. 2d 21

                                   6   (1951) (“Marshall”), disapproved of on other grounds by Envtl. Prot. Info. Ctr. v. Dep't of

                                   7   Forestry & Fire Prot., 43 Cal. App. 4th 1011 (1996); and Torres v. City of Yorba Linda, 13 Cal.

                                   8   App. 4th 1035, 1041 (1993), as modified on denial of reh’g (Mar. 25, 1993).

                                   9           In Marshall, the plaintiff was a trade association that challenged a regulation adopted by

                                  10   the defendant, seeking declaratory relief under California Government Code section 11440, which

                                  11   allowed “[a]ny interested person [to] obtain a judicial declaration as to the validity of any

                                  12   regulation by bringing an action for declaratory relief in the superior court in accordance with the
Northern District of California
 United States District Court




                                  13   provisions of the Code of Civil Procedure.” 104 Cal. App. 2d at 22. The court addressed whether

                                  14   the trade association – as opposed to the members of the trade association who were directly

                                  15   affected by the regulation – qualified as an “interested person” under the declaratory relief law and

                                  16   concluded that it did not. Id. In reaching this conclusion, it looked to the accepted definition of

                                  17   the term “interested person” under probate law (“requir[ing] a direct and primary interest in the

                                  18   testator’s estate”) and California law governing intervention (requiring a “direct, and not

                                  19   consequential” interest that is “of such a direct and immediate character that the intervener will

                                  20   either gain or lose by the direct legal operation and effect of the judgment”). In finding these

                                  21   requirements also applied to the declaratory judgment law, the court cited the rule that “[t]he

                                  22   legislature is presumed to know the court decisions construing similar language in other statutes

                                  23   and where legislation is framed in the language of an earlier enactment on the same or an

                                  24   analogous subject, which has been judicially construed, there is a very strong presumption of

                                  25   intent to adopt the construction as well as the language of the prior enactment.” Id. at 23 (internal

                                  26   quotation and citation omitted).

                                  27           In Torres, the plaintiffs challenged a redevelopment project and the defendant brought a

                                  28   demurrer arguing that the plaintiffs lacked standing under California Code of Civil Procedure
                                                                                         33
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 34 of 36




                                   1   section 387, requiring that “[e]very action must be prosecuted in the name of the real party in

                                   2   interest. . . .” 13 Cal. App. 4th at 1038. The court agreed, noting that “[g]enerally, a plaintiff must

                                   3   show he or she or those he or she properly represents have either suffered or are threatened with an

                                   4   injury of sufficient magnitude that it is reasonably assured the lawsuit will provide an adequate

                                   5   presentation of all relevant facts and issues.” Id. at 1041 (internal quotation and citation omitted).

                                   6          Finally, the Lutz court relied on a case decided by an Illinois court that addressed the

                                   7   meaning of “interested party” under both the California IFPA and the Illinois IFPA, State of

                                   8   Illinois ex rel. Jocelyn Zolna-Pitts v. ATI Holdings, Inc., No. 12CH27483, 2013 WL 3779568, *1

                                   9   (Ill.Cir.Ct. June 18, 2013) (“Zolna-Pitts”). In that case, the court noted that unlike other

                                  10   whistleblower statutes that allow actions to be brought by “a person,” the IFPA allows an action to

                                  11   be brought by an “interested person.” 2013 WL 3779568, at *2 (citing as an example the Illinois

                                  12   Whistleblower Reward and Protection Act, 740 ILCS 175/4). Because “interested person” is not
Northern District of California
 United States District Court




                                  13   defined under the IFPA, the court looked to the “ordinary and popularly understood meaning” of

                                  14   “interested,” citing the dictionary definition of “interested” as “being affected or involved.” Id.

                                  15   (quoting Merriam Webster's Collegiate Dictionary (11th Ed. 2009)). The court rejected the

                                  16   defendant’s reliance on the definition of “interested person” as used in probate, requiring that an

                                  17   individual have a financial interest or property, reasoning that “because the Probate Act and the

                                  18   ICFPA have very different objectives . . . the Probate Act provides limited guidance as to what

                                  19   the ICFPA means by ‘interested person.’” Id. Thus, relying on the dictionary definition alone,

                                  20   the court rejected the plaintiff’s assertion that she had standing because she paid for health

                                  21   insurance, finding that no false claims had been alleged to have been made by her insurers. Id. at

                                  22   *3. On the other hand, the court found that the plaintiff was an interested person nonetheless

                                  23   because she had formerly been an employee of the defendant and in that capacity had been ordered

                                  24   to follow the allegedly fraudulent procedures of her employer. Id.

                                  25          Having considered the cases cited by the Lutz court in support of its interpretation of the

                                  26   “:interested person” requirement of the IFPA, the undersigned is not persuaded that it is correct.

                                  27   Both of the California cases upon which it relied (Marshall and Torres) interpreted the phrase in

                                  28   the context of statutes that are premised upon a requirement that the plaintiff must suffer some
                                                                                         34
                                         Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 35 of 36




                                   1   concrete injury. As the Illinois court in Zolna-Pitts observed with respect to the probate statutes

                                   2   cited by the defendant in that case, however, the IFPA is a very different statute; under the IFPA, a

                                   3   plaintiff has no personal stake, as explained in Strathmann and Alzayat. On the other hand, while

                                   4   the court in Zolna-Pitts declined to rely on such statutes to interpret the IFPA (in this Court’s

                                   5   view, correctly), it did not explain how the dictionary definition it relied upon supported its

                                   6   specific conclusions as to the plaintiff’s standing in that case.

                                   7          The undersigned finds that a more recent Illinois decision, State ex rel. Leibowitz v. Family

                                   8   Vision Care, LLC, 128 N.E.3d 422, 433 (Ill. App. Ct.), appeal allowed, 132 N.E.3d 367 (Ill. 2019),

                                   9   supports the more expansive definition of “interested person” that the Lutz court rejected. In

                                  10   Leibowitz, the court looked to California law to interpret the term “interested person” in the

                                  11   Illinois IFPA, finding that an “interested person” is someone who “has nonpublic information of

                                  12   possible wrongdoing.” Id. at 434. In that case, the plaintiff was a former employee who had
Northern District of California
 United States District Court




                                  13   knowledge of the defendant’s allegedly fraudulent billing practices. Id. at 426. The court found

                                  14   that she was an interested person “by virtue of her whistleblower status.” Id. at 434. In reaching

                                  15   this conclusion, the court recognized that the “interested person” requirement under the IFPA

                                  16   differs from the language of the FCA, allowing a “person” to bring a whistleblower action, but

                                  17   rejected the defendant’s argument that this must mean that under the IFPA a plaintiff must have a

                                  18   “direct interest” in the IFPA claim. Id. at 433. The court pointed to the holding in Alzayat,

                                  19   discussed above, which it found to be inconsistent with the defendant’s argument. Id. It further

                                  20   noted that the cases on which defendants relied, which included Torres, drew on statutes that were

                                  21   very different from the IFPA, observing that “[t]he definition or meaning of a word cannot be

                                  22   blindly transferred from one context to another.” Id. The court also found that the word

                                  23   “interested” was used in the IFPA to qualify the word “person” only once whereas the word

                                  24   “person” without that qualifier was used 29 times. Id. at 434. The court therefore concluded that

                                  25   the word “interested” in the IFPA “is descriptive rather than restrictive.” Id.

                                  26          In light of the purpose of the IFPA, and because California courts have made clear that a

                                  27   plaintiff who brings a claim under that statute does so as a qui tam relator and not based on any

                                  28   personal stake in the action, the Court concludes that an “interested person” is someone who has
                                                                                          35
                                           Case 3:16-cv-02487-JCS Document 70 Filed 08/19/20 Page 36 of 36




                                   1   nonpublic information of possible wrongdoing. Here, however, Relator has included no

                                   2   allegations in the complaint addressing this requirement. Therefore, the Court finds that Relator’s

                                   3   IFPA claims are insufficiently pled as to standing. As Relator may be able to remedy this defect,

                                   4   it will be given leave to amend as to these claims. 5

                                   5   IV.      CONCLUSION
                                   6          For the reasons stated above, the Motion is GRANTED in part and DENIED in part. The

                                   7   Motion is GRANTED as to Claims Three through Six (the IFPA claims), which are dismissed

                                   8   with leave to amend to allege facts showing that Relator is an “interested party.” The Motion is

                                   9   DENIED in all other respects. Relator’s amended complaint shall be filed within 45 days of the

                                  10   date of this Order.

                                  11          IT IS SO ORDERED.

                                  12   Dated: August 19, 2020
Northern District of California
 United States District Court




                                  13                                                    ______________________________________
                                                                                        JOSEPH C. SPERO
                                  14                                                    Chief Magistrate Judge
                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27   5
                                        Vibrant also challenges the IFPA claims on the basis that they are insufficiently alleged under
                                  28   Rule 9(b), largely repeating the arguments it made as to the FCA claims. The Court rejects these
                                       arguments for the same reasons it rejects Vibrant’s arguments as to the FCA claims.
                                                                                       36
